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 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                              )
10   UNITED STATES OF AMERICA,                  )
          Plaintiff,                            )   Case No.: 2:15-cr-00205-TLN
11                                              )
           v.                                   )   STIPULATION AND ORDER FOR
12                                              )   CONTINUATION OF MOTION
     MATTHEW MULLER,                            )   HEARING/STATUS CONFERENCE
13       Defendant.                             )
14                                              )
                                                )
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16
                         STIPULATION AND PROPOSED ORDER
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           The United States of America through its undersigned counsel, Matthew Segal,
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     Assistant United States Attorney, together with Thomas A. Johnson, counsel for
19
     defendant, Matthew Muller, hereby stipulate the following:
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        1. By previous order, this matter was set for Motion Hearing/Status Conference on
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           September 22, 2016.
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        2. By this stipulation, Defendant now moves to continue the Motion Hearing/Status
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           Conference to September 29, 2016, at 9:30 a.m.
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        3. This continuance is requested because defense counsel is unavailable on
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           September 22, 2016 as the result of a doctor’s appointment. The ends of justice
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           served by granting this continuance outweigh the best interest of the public and the
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           defendant in a speedy trial because Failure to grant it would deprive the defendant
28
           of continuity of counsel. See 18 U.S.C. § 3161(h)(7)(A), (B)(iv).


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 1      4. The Court has already granted a time exclusion up until the jury trial currently
 2         scheduled on January 30, 2017.
 3      5. Time is also tolled due to the filing of the Government’s Rule 12.2 motion. See 18
 4         U.S.C. § 3161(h)(1)(D).
 5
 6   IT IS SO STIPULATED.
 7
     DATE: September 19, 2016
 8                                                   /s/ Thomas A. Johnson
                                                     THOMAS A. JOHNSON
 9                                                   Attorney for Matthew Muller
10
     DATED: September 19, 2016                       PHILLIP A. TALBERT
11                                                   Acting United States Attorney
12                                             By:   /s/ Thomas A. Johnson for
                                                     MATTHEW SEGAL
13                                                   Assistant U.S. Attorney
14
15                                           ORDER
16
17         It is so ordered.

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19   Dated: September 20, 2016
                                                       Troy L. Nunley
20                                                     United States District Judge
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